
Friday, November 13th.
Judge Fleming,
President pro tempore, delivered the following as the decree of the court, “ That the decree of the said Superior Court of “ Chancery is erroneous in this, — that there were not “ proper parties conventedbefore that court; and, if there “ had, in not directing an account between the parties of “ the matters claimed in the bill, before a commissioner u or commissioners: Therefore, it is decreed and ordered “ that the decree of the said Superior Court of Chancery “ be reversed and annulled, and that the appellees pay to the “ appellant the costs by him expended in the prosecution “ of his appeal aforesaid here. And this court proceeding “ to make such decree as the said Superior Court of “ Chancery ought to have made, is further of opinion, &lt;£ that the decree of the County Court is also errohe.ous 4‘ in proceeding to a hearing of the said cause, before all the defendants had been properly proceeded against; in “ prematurely dismissing the bill as to some of the de- “ fendants; and in not directing such an account as “ abovementioned. Therefore, it is further decreed and ordered that the said decree and proceedings of the *548“ County Court be likewise reversed and annulled down “ to the replication, and awarding of commissions to take “ depositions, as to the defendants who have answered; “ and down to the writs, as to the defendants who have “ not answered; and that the appellees pay to the appellant “ his costs by him expended in prosecuting his appeal in “ the said Superior Court of Chancery: and further it is “ ordered that the cause be put again on the rule docket “ of the County Court, or the Superior Court of Chancery “ for the Richmond District, as the Judge of the latter “ court may direct, in order to be further proceeded in: “ for which purpose the said cause is remitted to the said “ Superior Court of Chancery.”
